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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP, in his capacity as
the 45th President of the United States,


       Plaintiff,

              v.                               Civil Action No. 21-2769


BENNIE G. THOMPSON, in his official
capacity as Chairman of the United States
House Select Committee to Investigate
the January 6th Attack on the United States
Capitol; THE UNITED STATES HOUSE
SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6TH ATTACK ON THE
UNITED STATES CAPITOL; DAVID S.
FERRIERO, in his official capacity as
Archivist of the United States; and THE
NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,


       Defendants.


        STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT
   OF PLAINTIFF’S RENEWED EMERGENCY MOTION FOR INJUNCTION
       PENDING APPEAL, OR AN ADMINISTRATIVE INJUNCTION
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      The Plaintiff is seeking this emergency relief to preserve the status quo while

novel constitutional and statutory issues of first impression underlying this case are

considered by the D.C. Circuit Court of Appeals. Therefore, he requests an injunction

pending appeal, or, at the very least, an administrative injunction, that will provide

the D.C. Circuit sufficient time to consider the appeal on an expedited basis.

President Trump’s proposal balances the needs of judicial economy and expediency.

Absent an injunction pending appeal or an administrative injunction, the National

Archives and Records Administration will produce the records in dispute on Friday,

November 12, 2021, before appellate review is complete and before President Trump

has had the opportunity to be fully and fairly heard.

                                  BACKGROUND

      The background of this case has been thoroughly briefed. DCD Nos. 5-1 and

33. President Trump notified the Archivist of his assertions of executive privilege

affecting a small subset of documents. Additionally, he made a protective assertion of

executive privilege over any additional materials that may be requested by the

Committee. Compl., Exh. 5.

      The Biden Administration notified the Archivist it would not assert executive

privilege for the documents identified in President Trump’s letters and instructed the

Archivist to produce the records on November 12, 2021, absent an intervening court

order.1 Compl., Exh. 4. The Archivist notified President Trump that, “[a]fter




   1 The Archivist has since confirmed that he intends to produce the documents at

6:00 PM on November 12, absent a court order.
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consultation with Counsel to the President and the Acting Assistant Attorney

General for the Office of Legal Counsel, and as instructed by President Biden” the

Archivist has “determined to disclose to the Select Committee” on November 12, 2021,

all responsive records former President Trump determined were subject to executive

privilege, absent an intervening court order. Compl., Exh. 7.

      President Trump acted promptly and filed his complaint on October 18, 2021,

DCD No. 1. He filed a Motion for a Preliminary Injunction on the following day,

October 19, 2021, DCD No. 5. After full briefing by the parties, the Court heard

argument on November 4, 2021. The Court denied the preliminary injunction on

November 9, 2021. DCD No. 36. President Trump promptly noted his appeal from

that order. DCD No. 37.

                                    ARGUMENT

      A court considers the same four factors when deciding to grant an injunction

pending an appeal as when considering a motion for preliminary injunction.

MediNatura, Inc. v. Food & Drug Admin., 2021 WL 1025835, at *4 (D.D.C. Mar. 16,

2021) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “[A]n

injunction pending appeal may be appropriate, even if the Court believed its analysis

in denying preliminary relief is correct.” Am. Beverage Ass'n v. City & Cty. of San

Francisco, No. 15-cv-3415, 2016 WL 9184999, at *2 (N.D. Cal. June 7, 2016); see, e.g.,

Native Ecosystems Council v. Kimbell, No. 05-cv-110-M, 2005 WL 8167434, at *1 (D.

Mont. Nov. 21, 2005) (granting injunction pending appeal after denying preliminary




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injunction because without injunction pending appeal the underlying issue might be

mooted without chance for review).

      Federal Rule of Civil Procedure 62(d) explicitly allows district courts to grant

injunctions pending the appeal of an interlocutory order. An administrative

injunction is also appropriate pursuant to the All Writs Act, 28 U.S.C. § 1651, to

maintain the status quo on a temporary basis while a court considers the matter.

S.E.C. v. Vison Commc’ns, Inc., 74 F.3d 287, 291 (D.C. Cir. 1996); see also United

States v. N.Y. Tel. Co., 434 U.S. 159, 189 n. 20 (1977) (Stevens, J. dissenting) (citing

FTC v. Dean Foods Co., 384 U.S. 597, 604 (1966) (injunction issued under All Writs

Act upheld because it was necessary “to preserve the status quo while administrative

proceedings are in progress and prevent impairment of the effective exercise of

appellate jurisdiction ”) (emphasis added).

      Earlier this year, in MediNatura, Inc. v. Food & Drug Administration, the

district court held the “standard for granting an injunction pending appeal is, at least

at times, more flexible than a rigid application of the traditional four-part standard

applicable to granting a preliminary injunction.” MediNatura, 2021 WL 1025835, at

*6. The court went on to hold “in rare cases, the threat of irreparable harm may be so

grave and the balance of equities may favor a plaintiff so decisively that an injunction

pending appeal of a difficult or novel legal question may be proper.” Id. The court

explained an injunction pending appeal should be granted if “in the absence of such

an injunction, the subject matter of the dispute will be destroyed or otherwise altered

in a way that moots the pending appeal.” Id. at *6. This is exactly the case before this



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Court. Here, if the documents are released to the Committee, executive privilege will

be destroyed, the Archivist may impermissibly release documents, and the status quo

could not be restored.

       President Trump has shown likelihood of success on the merits, but in the

alternative, interim relief should be granted under the “serious questions” standard.

See Carey v. Klutznick, 637 F.2d 834, 839 (2d Cir. 1980); U.S. Servicemen’s Fund v.

Eastland, 488 F.2d 1252, 1256 (D.C. Cir. 1973).

       Novel questions of congressional access to presidential records and executive

privilege are at the heart of this case. These are serious issues, which the Supreme

Court referred to as “fundamental to the ‘operation of Government.’” Trump v.

Mazars USA, LLP, 140 S. Ct. 2019, 2032 (2020) (quoting United States v. Nixon, 418

U.S. 683, 708 (1974)). The disagreement between an incumbent President and his

successor from a rival political party highlights the importance of executive privilege

and the ability of presidents and their advisers to reliably make and receive full and

frank advice, without concern that communications will be publicly released to meet

a political objective.

       This political clash supports the Supreme Court’s recognition of former

Presidents’ right to assert executive privilege. See Nixon v. GSA, 433 U.S. 425, 449

(1977). It is why the PRA allows former Presidents to seek a remedy in court. 36

C.F.R. § 1270.44 (stating the Archivist discloses records after incumbent denial of the

privilege only if no court order is issued). Thus, the incumbent President’s

determination is not final.



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      President Trump has explained in detail, in his briefs and at argument, why

he has met the standards of an injunction. DCD Nos. 5-1 and 33. Those arguments

are incorporated here by reference. While this Court denied the motion, it

acknowledged the novel issues under consideration. DCD No. 35 at 12 (“This case

presents the first instance since enactment of the PRA in which a former President

asserts executive privilege over records for which the sitting President has refused to

assert executive privilege”).

      The Court’s decision should be subject to appellate review before the

production is completed in mere days and the issues at hand are mooted. Contrary to

the Court’s holding, Congress lacks any legislative purpose for the requests at issue,

negating the need to even consider whether executive privilege or the Presidential

Records Act applies to this dispute. See Trump v. Mazars, 140 S. Ct. 2019 (2020).

Indeed, in refusing any injunctive relief, even while acknowledging the “wide net”

cast by the Committee, DCD No. 35 at 29, the Court has declined to recognize any

meaningful limiting principle to Congress’s ability to seek presidential records. The

Court’s novel approach to this question deserves to be tested though our appellate

system.

      Additionally, in deferring to President Biden in this dispute, the Court

recognizes the incumbent as the first, last, and only arbiter of executive privilege

disputes involving former presidents. The holding is inconsistent with the Supreme

Court’s decision in Nixon v. GSA, which specifically recognized that the need for

confidentiality in communications between a President and his advisers requires that



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the “privilege survives the individual President’s tenure.” 433 U.S. 425, 449 (1977).

Indeed, the GSA case is itself a specific example of the courts adjudicating just such

a dispute and allowing an intrusion into the privilege of a former president only when

the records at issue would remain confidential. Id. at 450–51. Here, there is no such

assurance of confidentiality, as President Biden seeks to produce the documents to

President Trump’s political rivals.

      The incumbent is also not suited to resolve the dispute. Quoting James

Madison, the Supreme Court has been clear: “No man is allowed to be a judge in his

own cause…” Guitierrez de Martinez v. Lamagno, 515 U.S. 417, 428 (1995) (quoting

Federalist No. 10, p. 79). Yet, absent judicial review on a document-by-document

basis, this dispute will be determined by a party rather than a neutral. The Court

cannot abdicate its roll in resolving this dispute by deferring to the incumbent’s

unfettered discretion.

      Absent an injunction, President Trump will suffer irreparable harm through

the effective nullification of important constitutional and statutory rights. Indeed,

this case concerns resolution of disputes involving serious disagreements between the

former and incumbent president. As he has briefed in detail, Plaintiff’s status as a

former president under the Presidential Records Act and its regulations entitles him

to raise objection and seek judicial intervention in the event of a disagreement

between himself and President Biden on matters of executive privilege and the

authority of congress to review records created during his tenure. Afterall, presidents

have a reliance interest in confidential presidential communications. See Id at 449.



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      President Trump is more than an ordinary citizen, as the district court

suggests when it states that executive privilege “can neither be claimed nor waived

by a private party.” DCD No. 35 at 14 (citing United States v. Reynolds, 345 U.S. 1,

7 (1953). Instead, he is one of only five living Americans who, as former presidents,

are entrusted with protecting the records and communications created during their

term of office. GSA, the Presidential Records Act, its associated regulations, and

Executive Order 13489 are clear: a former president is not merely a “private party.”

Instead, he has right to be heard and to seek judicial intervention should a

disagreement between the incumbent and former presidents arise regarding

congressional requests and executive privilege.

      Plaintiff personally relied on these rights while in office, the time when the

communications and records at issue were created. The attempted destruction of

those rights by Defendants is personal to him. Moreover, his rights cannot be fairly

evaluated by the incumbent president who lacks context and information concerning

the documents in question.

      The disclosure of privileged information will constitute irreparable harm

because such information, once disclosed, loses its confidential and privileged nature.

Such a result would not only injure President Trump but also future presidents by

chilling advice given by presidential aides. “Once the documents are surrendered,” in

other words, “confidentiality will be lost for all time. The status quo could never be

restored.” Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979); see also

PepsiCo, Inc. v. Redmond, 1996 WL 3965, at *30 (N.D. Ill. 1996) (“[J]ust as it is


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impossible to unring a bell, once disclosed,…confidential information lose their

secrecy forever”); Metro. Life Ins. Co. v. Usery, 426 F. Supp. 150, 172 (D.D.C. 1976)

(“Once disclosed, such information would lose its confidentiality forever.”).

Accordingly, the most important factor weighs in favor of granting President Trump’s

injunction. Therefore, President Trump has satisfied his burden. Chaplaincy of Full

Gospel Churches, 454 F.3d at 297. The invasion of a privilege and the destruction of

confidentiality is a pedagogical example of irreparable harm.


                                     CONCLUSION


      Granting interim relief will permit the court to consider the important

constitutional and statutory questions with the benefit of fulsome briefing and with

the time required to come to thorough, reasoned conclusions. The Court should grant

this Motion for an Injunction Pending Appeal, or Administrative Injunction to

preserve the status quo while these questions are considered on appeal.


      Dated: November 10, 2021               Respectfully submitted,

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                              CERTIFICATE OF SERVICE


      I certify that the foregoing was electronically filed with the Clerk of the Court

using the Court’s CM/ECF system, which will cause a copy to be sent to all counsel of

record.

Dated: November 10, 2021                      /s/ Jesse R. Binnall
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